           Case 2:11-cr-00075-MCE Document 37 Filed 09/29/11 Page 1 of 4


1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    DOUGLAS BEEVERS, USVI Bar #766
     Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    CRESCENIO DELGADO-ESQUIVEL
7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )     No. CR-S-11-00075-MCE
                                     )
12                  Plaintiff,       )
                                     )     STIPULATION AND ORDER TO CONTINUE
13        v.                         )     STATUS CONFERENCE
                                     )
14   CRESCENCIO DELGADO-ESQUIVEL,    )
     et al.,                         )     Date: November 17, 2011
15                                   )     Time: 9:00 a.m.
                    Defendants.      )     Judge: Hon. Morrison C. England
16                                   )
     _______________________________ )
17
          IT IS HEREBY STIPULATED between the parties, plaintiff United States
18
     of America by its attorney SAMUEL WONG, Assistant United States Attorney;
19
     DOUGLAS BEEVERS, Assistant Federal Defender, attorney for defendant
20
     CRESCENCIO   DELGADO-ESQUIVEL;    GILBERT    ROQUE,    attorney   for   defendant
21
     SALVADOR   JAMACICA-ARELANO;   CLEMENTE     JIMENEZ,   attorney   for   defendant
22
     LAZARO ANDRADE-BAUTISTA; that the status conference of September 29, 2011
23
     at 9:00 a.m., be vacated, and the matter be set for status conference on
24
     November 17, 2011, at 9:00 a.m.
25
          The reason for the continuance to allow defense counsel additional
26
     time to review the voluminous discovery, investigate the facts of the
27
     case, and communicate the progress of the preparation of each defendant's
28
           Case 2:11-cr-00075-MCE Document 37 Filed 09/29/11 Page 2 of 4


1    defense to each client. These tasks are made much more difficult and time
2    consuming as all defendants are Spanish speakers and require the use of
3    a Spanish/English intepreter to aid in the tranlation of documents, such
4    as proposed plea agreements and discovery reports, and in working with
5    any non-Spanish speaking defense counsel. The task of preparation of
6    defendant DELGADO-ESQUIVEL's defense is made particularly more difficult
7    because he is named as a defendant in two separate criminal cases
8    stemming from the same criminal investigation.            The parties agree a
9    continuance is necessary for these purposes, and agree to exclude time
10   under the Speedy Trial Act accordingly.
11        IT IS STIPULATED that the period from the date of the parties’
12   stipulation, September 27, 2011,      and up to and including the November
13   17, 2011, Status Conference, shall be excluded in computing the time
14   within which trial of this matter must be commenced under the Speedy
15   Trial Act, pursuant to 18 U.S.C §3161(h)(7)(A) and (B)(iv) and Local Code
16   and T4 (ongoing preparation of defense counsel). The parties further
17   stipulate and agree that the Court shall find that: (1) the requested
18   continuance is necessary to provide defense counsel reasonable time
19   necessary for effective preparation, taking into account the exercise of
20   due diligence; and (2) the ends of justice to be served by granting a
21   continuance outweigh the best interests of the public and the defendants
22   in a speedy trial.
23
24   Dated: September 27, 2011              Respectfully submitted,
25                                          DANIEL BRODERICK
                                            Federal Defender
26
                                            /s/ Doug Beevers
27                                          DOUG BEEVERS
                                            Assistant Federal Defender
28                                          Attorney for Defendant
                                            CRESCENCIO DELGADO-ESQUIVEL

     Stip and Order                        -2-
              Case 2:11-cr-00075-MCE Document 37 Filed 09/29/11 Page 3 of 4


1
     Dated: September 27, 2011                   /s/ Gilbert Roque
2                                                GILBERT ROQUE
                                                 Attorney for Defendant
3                                                SALVADOR JAMACICA-ARELANO
4
     Dated: September 27, 2011                   /s/ Clemente Jimenez
5                                                CLEMENTE JIMENEZ
                                                 Attorney for Defendant
6                                                LAZARO ANDRADE-BAUTISTA
7
8
     Dated: September 27, 2011                   BENJAMIN B. WAGNER
9                                                United States Attorney
10                                               /s/ Samuel Wong
                                                 SAMUEL WONG
11                                               Assistant U.S. Attorney
                                                 Attorney for Plaintiff
12
13
14                                             ORDER
15         UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
16   ordered that the status conference presently set for September 29, 2011,
17   be    continued    to   November    17,    2011,    at     9:00   a.m.   Based    on   the
18   representation of defense counsel and good cause appearing therefrom, the
19   Court hereby finds that it is unreasonable to expect adequate preparation
20   for   pretrial    proceedings      and    trial   itself    within   the   time    limits
21   established in 18 U.S.C. § 3161, the requested continuance is necessary
22   to provide defense counsel reasonable time necessary for effective
23   preparation, taking into account the exercise of due diligence.                        The
24   Court finds the ends of justice to be served by granting a continuance
25   outweigh the best interests of the public and the defendants in a speedy
26   trial.
27         It is ordered that time from the date of the parties’ stipulation,
28   September 27, 2011, up to and including, the November 17, 2011, status


     Stip and Order                             -3-
           Case 2:11-cr-00075-MCE Document 37 Filed 09/29/11 Page 4 of 4


1    conference shall be excluded from computation of time within which the
2    trial of this matter must be commenced under the Speedy Trial Act
3    pursuant to 18 U.S.C. §3161(h)(7)(A) and (B)(iv) and Local Code T4 (allow
4    defense counsel reasonable time to prepare).
5         IT IS SO ORDERED.
6
     Dated: September 28, 2011
7
8                                         _____________________________
                                          MORRISON C. ENGLAND, JR.
9
                                          UNITED STATES DISTRICT JUDGE
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


     Stip and Order                        -4-
